Case 5:16-cv-10444-JEL-EAS ECF No. 2584, PageID.85304 Filed 08/28/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.
                                    Judith E. Levy
  ________________________________/ United States District Judge

  This Order Relates To:

  ALL CASES

  ________________________________/

      AGENDA FOR AUGUST 30, 2023 STATUS CONFERENCE

       The Court will hold a status conference on these cases on

 Wednesday August 30, 2023 at 1:00 pm via Zoom video conference.

 The Zoom link will be docketed in 16-10444.

       The agenda will be as follows, although the Court may adjust the

 agenda prior to the conference if necessary.

    1. Individual Plaintiffs’ request to address VNA’s designation of the
       following witnesses as experts:

       a. Miguel Del Toral;
       b. Marc Edwards, Ph.D.;
       c. Herman Gomez, M.D.;
       d. Cristin Larder;
       e. Warren Green, P.E.; and

    2. Individual Plaintiffs’ request to discuss the discovery dispute
       protocol, which is set forth as Issue 5 in the Joint Statement
Case 5:16-cv-10444-JEL-EAS ECF No. 2584, PageID.85305 Filed 08/28/23 Page 2 of 2




       Regarding Status of Discovery Issues Pursuant to ECF No. 2558.
       (ECF No. 2561.) The Court will continue to handle the resolution of
       all discovery disputes in the Flint Water Cases, however, other
       aspects of Plaintiffs’ suggested changes in protocol will be
       discussed; and

    3. Individual Plaintiffs’ request to discuss the protocol outlined in the
       Confidentiality Order (ECF No. 2255-3), which is set forth as Issue
       6 in the Joint Statement Regarding Status of Discovery Issues
       Pursuant to ECF No. 2558. (ECF No. 2561.)

    IT IS SO ORDERED.

 Dated: August 28, 2023                    s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on August 28, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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